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                                                              June 10, 2025
 Via ECF and Email
 Hon. Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza
 Brooklyn, N.Y. 11201


                    Re:     United States v. Jonathan Braun, 10- cr-433 (KAM)


 Dear Judge Matsumoto:

        At this time, the defense does not have additional exhibits it intends to introduce at
 Friday’s hearing. The defense exhibits currently in evidence are listed below.


                      Exhibit                                     Description
                       DX-B                                 Hospital Camera Clip #1
                       DX-C                                 Hospital Camera Clip #2
                       DX-D                          Body Worn Camera Clip, February 15, 2025


        Thank you for your time and consideration.



                                                              Respectfully Submitted,

                                                              Kathryn Wozencroft
                                                              Kathryn Wozencroft
                                                              Assistant Federal Defender
                                                              (347) 802-7800
 cc:    AUSA Tanya Hajjar
        AUSA Rachel Bennek
